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                         UNITED STATES DISTRICT COURT


                          DISTRICT OF SOUTH DAKOTA


                                WESTERN DIVISION



 UNITED STATES OF AMERICA,                             CR. 22-50006-JLV

                   Plaintiff,
                                                             ORDER
      vs.



 CHARLES CANE MERRIVAL,

                   Defendant.



      The court held ex parts hearings with Defendant Charles Merrival and

his attorney following the conclusion of trial on September 13, 2023, on Mr.

Merrival's motion for chpnge of counsel. On September 14 an additional ex

parts hearing was held before the commencement of trial. Following those ex

parts hearings, the court held a hearing outside the presence of the juiy with

government counsel, defense counsel and Mr. Merrival during which the

attorneys and Mr. Merrival stated their positions on the court declaring a

mistrial without prejudice. Good cause appearing, it is

      ORDERED that Attorney Stanton Anker is permitted to withdraw as

counsel for the defendant. New counsel will be appointed by United States

Magistrate Judge Daneta Wollmann.

      IT IS FURTHER ORDERED that pursuant to Fed. R. Crim. P. 26.3, the

court orders a mistrial, without prejudice.

      IT IS FURTHER ORDERED that the court finds "that the ends ofjustice

served by taking [this] action outweighs the best interest of the public and the
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defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A). The factors

supporting this decision are set forth in the record.      § 3161(h)(7)(B).

      Dated September 15, 2023.

                               BY THE COURT:




                               JE^WEYX. VIKEN
                               UNITED STATES DISTRICT JUDGE
